        Case 1:20-cr-00165-JEB Document 23 Filed 12/04/20 Page 1 of 3




                   UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA


UNITED STATES                             )
                                          )
                                          )
v.                                        )                  Case No. 20-cr-165-JEB
                                          )
                                          )
KEVIN CLINESMITH,                         )
                                          )
                  Defendant               )
__________________________________________)

                             MOTION FOR LEAVE TO FILE

      COMES NOW, Carter Page (“Dr. Page”), by and through undersigned

counsel, and moves this Honorable Court for leave to file a motion confirming his

status as a statutory victim under the Crime Victims’ Rights Act (the “CVRA”), 18

U.S.C. § 3771, to be heard at sentencing pursuant to § 3771(a)(4), and his right to

restitution pursuant to § 3771(a)(6) and 18 U.S.C. § 3663.

      Dr. Page asks leave to file his motion as a victim of the offense in this matter

pursuant to the statutory right of victims to enforce their rights through counsel

and by motion to this Court. Section 3771(d) states:

      (1) Rights.— The crime victim or the crime victim’s lawful representative, and
      the attorney for the Government may assert the rights described in subsection (a).
      A person accused of the crime may not obtain any form of relief under this
      chapter.

                                               . . .

      (3) Motion for relief and writ of mandamus.— The rights described in subsection
      (a) shall be asserted in the district court in which a defendant is being prosecuted
      for the crime or, if no prosecution is underway, in the district court in the district
      in which the crime occurred. The district court shall take up and decide any
      motion asserting a victim’s right forthwith. (Emphasis added.)
         Case 1:20-cr-00165-JEB Document 23 Filed 12/04/20 Page 2 of 3




      For purposes of this motion for leave to file, Dr. Page asserts that he satisfies

the statutory definition of victim found in both the CVRA and the restitution and

the case law interpreting those sections, and is entitled to the rights thereunder.

      The motion sought to be filed, Motion For Relief Under the Crime Victim’s

Rights Act, seeks the Court’s confirmation of Dr. Page’s status as a statutory victim

and enforcement of his statutory rights, setting forth the basis for his claim.

      WHEREFORE, Movant respectfully requests this Court grant him leave to

file the appended motion and exhibits.

                                         Respectfully submitted,



                                         ______________/s/______________________
                                         Leslie McAdoo Gordon
                                         DC BAR #456781
                                         McAdoo Gordon & Associates, P.C.
                                         1140 19th Street, NW, Suite 602
                                         Washington, DC 20036
                                         (202) 293-0534 telephone
                                         (202) 478-2095 facsimile
                                         leslie.mcadoo@mcadoolaw.com
        Case 1:20-cr-00165-JEB Document 23 Filed 12/04/20 Page 3 of 3




                           CERTIFICATE OF SERVICE


      I hereby certify that, on December 4, 2020, a copy of the foregoing Motion for

Leave to File was served electronically on:

             Justin Shur
             Emily Kathryn Damrau
             Megan Cunniff Church
             Jordan Rice
             MOLOLAMKEN LLP
             600 New Hampshire Avenue, NW
             Suite 660
             Washington, DC 20037
             (202) 556-2005
             Email: jshur@mololamken.com

             Anthony F. Scarpelli
             U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
             555 Fourth Street, NW
             Washington, DC 20530
             (202) 252-7707
             Fax: (202) 514-8707
             Email: anthony.scarpelli@usdoj.gov

             Neeraj Patel
             Special Assistant United States Attorney
             157 Church Street
             25th Floor
             New Haven, CT 06510
             203-821-3700
             Email: neeraj.patel@usdoj.gov


                                       ______________/s/___________________
                                       Leslie McAdoo Gordon
                                       DC BAR #456781
                                       McAdoo Gordon & Associates, P.C.
                                       1140 19th Street, NW, Suite 602
                                       Washington, DC 20036
                                       (202) 293-0534 telephone
                                       (202) 478-2095 facsimile
                                       Leslie.mcadoo@mcadoolaw.com
        Case 1:20-cr-00165-JEB Document 23-1 Filed 12/04/20 Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA


UNITED STATES                             )
                                          )
                                          )
v.                                        )          Case No. 20-cr-165-JEB
                                          )
                                          )
KEVIN CLINESMITH,                         )
                                          )
                  Defendant               )
__________________________________________)

                                       ORDER

       This matter comes to the Court on Dr. Carter Page’s Motion for Leave to File.

It is hereby:

       ORDERED that Dr. Page’s motion is GRANTED, and it is further

       ORDERED that Dr. Page may file the motion and accompanying exhibits

identified in his Motion for Leave to File in the above captioned case.




December __, 2020                             _________________________________
Washington, D.C.                              Judge James E. Boasberg
                                              United States District Judge
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 1 of 19




                  UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA


UNITED STATES                             )
                                          )
                                          )
v.                                        )          Case No. 20-cr-165-JEB
                                          )
                                          )
KEVIN CLINESMITH,                         )
                                          )
                  Defendant               )
__________________________________________)



      MOTION FOR RELIEF UNDER THE CRIME VICTIMS’ RIGHTS ACT



      COMES NOW, Carter Page (“Dr. Page”), as a victim of defendant’s offense, to

assert his rights under the Crime Victims’ Rights Act, 18 U.S.C. § 3771, and

pursuant to § 3771(d)(1) moves this Honorable Court for relief. Dr. Page has the

right to be heard at sentencing pursuant to § 3771(a)(4), and the right to restitution

pursuant to § 3771(a)(6) and 18 U.S.C. § 3663. Dr. Page therefore respectfully

moves the Court to issue an order confirming his status as a statutory victim and

for the other relief described herein.1




1On today’s date, undersigned counsel provided a draft version of this motion to the
representatives of the United States in this matter, at the government’s request, in
order to ascertain the government’s position on the relief requested herein. The
United States has authorized counsel to advise the court that it is reviewing the
motion and will file a response with the Court setting forth its position.
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 2 of 19




                             STATEMENT OF FACTS

A.    Defendant Clinesmith’s Offense

      The defendant, Kevin Clinesmith, is a lawyer who was employed by the

Federal Bureau of Investigation (“FBI”) from July 12, 2015 to September 21, 2019.

He worked in FBI’s Office of General Counsel as an Assistant General Counsel in

the National Security and Cyber Law Branch. The defendant assisted with

applications prepared by the FBI and the National Security Division (“NSD”) of the

United States Department of Justice (“DOJ”) to conduct surveillance under the

Foreign Intelligence Surveillance Act (“FISA”).

      On July 31, 2016, the FBI opened the “Crossfire Hurricane” investigation

and, as part of it, shortly thereafter opened an investigation into Dr. Page. Among

other things, the defendant provided support to FBI agents who prepared

applications to obtain FISA warrants from the United States Foreign Intelligence

Surveillance Court (“FISC”) to conduct surveillance on Dr. Page. The FISC

approved four FISA warrants targeting Dr. Page.

      To obtain those warrants, the FBI had to persuade the FISC that Dr. Page

was an agent of the Russian government – which he was not. Prior to seeking the

first FISA warrant, in August 2016, the FBI Crossfire Hurricane team was provided

with a memorandum and other materials from a U.S. intelligence agency which

showed that Dr. Page, far from being a Russian agent, was instead an approved

“operational contact” for that intelligence agency from at least 2008 to 2013. The

first three FISA warrant applications failed to provide this crucial information to

the FISC.

                                          2
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 3 of 19




      In April 2017, FBI employees and other government officials leaked to the

media that a FISA warrant and renewals had been issued targeting Dr. Page as an

alleged Russian agent. Dr. Page received a tremendous amount of adverse publicity

as a result of the leak about the FISA warrants’ mere existence. Prior to the

submission of the 4th application for a FISA warrant in June 2017, Dr. Page had

publicly denied that he was a Russian agent and disclosed his status as a person

working with U.S. government intelligence agencies.

      After Dr. Page’s public statements, a FBI Supervisory Special Agent

(“SSA”)—who would be the affiant on 4th warrant application—asked defendant

Clinesmith to inquire of the U.S. intelligence agency whether Dr. Page was ever a

“source” for it as he claimed.2 Clinesmith knew that Dr. Page’s status as a U.S.

intelligence source was a material fact requiring disclosure in the FISA application

submitted to the FISC. Indeed, Clinesmith acknowledged that there was “a big, big

concern from both [the NSD’s Office of Intelligence] and from the FBI that we had

been targeting a source, because that should never happen without us knowing

about it.” See U.S. Dep’t of Justice Office of Inspector General, 20-012, Review of

Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane

Investigation (December 2019) at p. 249 (“Horowitz Report”). And Clinesmith knew

that if Dr. Page’s public statement was true, they would “need to provide [the



2
  The SSA had also been the affiant on the 2nd and 3rd warrant applications, but in
light of Dr Page’s media interviews since their submission indicating that Dr. Page
had a relationship with the intelligence community, the SSA wanted a “definitive
answer as to whether Page had a prior relationship with the [intelligence
community] before SSA 2 signed the last renewal application.” Horowitz Report at
248.
                                          3
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 4 of 19




information] to the court” because such information would “drastically change[] the

way that we would handle ...[the] FISA application.” Id.

      At the SSA’s insistence for confirmation on the question whether Dr. Page

was a CIA operational contact, Clinesmith sent an email on June 15, 2017, to the

U.S. intelligence agency liaison stating: “We need some clarification on [Dr. Page].

There is an indication that he may be [your] source. This is a fact we would need to

disclose in our next FISA renewal… To that end, can we get two items from you? 1)

Source Check/Is [Dr. Page] a source in any capacity? 2) If he is, what is a [certain

type of] source (or whatever type of source he is)?” Horowitz Report at 249-50;

Statement of Offense in Support of Guilty Plea p. 5-6.

      In response, the U.S. intelligence agency liaison sent an email to Clinesmith

that same day confirming that Dr. Page had been an agency source, using the

lexicon “operational contact.” The liaison referenced a list of documents previously

provided to the Crossfire Hurricane team in August 2016, including the

memorandum that confirmed Dr. Page had been a source for the U.S. intelligence

agency. These documents were accessible to the Crossfire Hurricane team and had

been all along. Clinesmith claims in his sentencing memorandum that it was not

his responsibility to read those documents, which were physically maintained with

the investigatory team. But he fails to explain why he would not have reviewed

those documents given that he was specifically asked to determine Dr. Page’s status

with the other agency, and that agency referred him to these documents in order to

do so. Cf Defense Sentencing Memorandum at 14, with Defense Sentencing

Memorandum at 12-13.

                                           4
        Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 5 of 19




      Moreover, the agency liaison offered Clinesmith further help, saying: “If you

need a formal definition for the FISA, please let me know and we'll work up some

language and get it cleared for use.” Horowitz Report at p. 250. Plainly she would

not have made this offer to provide a formal definition of Dr. Page’s status if there

was nothing to tell the FISC. Unsurprisingly, Clinesmith never took the liaison up

on this offer because he was not interested in elucidating for the FISC the exact

nature of Dr. Page’s relationship with the intelligence agency.

      Rather, in communications with the SSA on June 19, 2017, Clinesmith stated

that Dr. Page “was never a source.”3 In response, the SSA asked: “Do we have that

in writing.” Horowitz Report at 252-53; Statement of Offense in Support of Guilty

Plea p. 6. Clinesmith stated they did and said he would forward it to the SSA. That

same day, Clinesmith altered the email from the U.S. intelligence agency liaison to

falsely state that Dr. Page was not a source, and then forwarded it to the SSA.

      Consequently, Dr. Page’s true status as a U.S. government source was not

disclosed to the FISC in the 4th application and the 4th FISA warrant was approved.

As a result, Dr. Page’s communications were surreptitiously surveilled for another

three months. The DOJ has subsequently conceded to the FISC that, in reality,




3When   confronted about this later by the OIG, Clinesmith stated that he believed
his conclusion that Dr. Page was not a source was based in part on a telephone
conversation with the liaison from the other agency. The liaison, however, recalled
no telephone conversation with Clinesmith at all, and stated that she would not
have conveyed that conclusion over the telephone because she would not have had
the relevant documents in front of her. She also told the OIG that Clinesmith’s
interpretation of her email was exactly the opposite of what it conveys. She pointed
out that she offered to provide clarifying language precisely because she was telling
Clinesmith that Dr. Page was a source. Horowitz Report at p. 251.
                                           5
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 6 of 19




there was insufficient evidence to support the issuance of either the 3d or the 4th

FISA warrants (and the DOJ has declined to defend the legality of the first two

warrants). That is, the DOJ admits that there was, in fact, no probable cause to

believe Dr. Page was the agent of Russia.



B.    The Harms to Dr. Page

      The issuance of the 4th FISA warrant harmed Dr. Page in multiple ways. He

suffered the intangible harm of being unlawfully spied upon for three months of his

life. “The evil of an unreasonable search or seizure is that it invades privacy …..”

Townes v. City of New York, 176 F.3d 138, 148 (2d Cir. 1999). “The intangible harm

[caused by an unlawful search] can be severe: victims of such searches can feel

‘violated’ in the same sense, and to the same degree, as do victims of burglaries ….”

William J. Stuntz, Warrants and Fourth Amendment Remedies, 77 Va.L.Rev. 881,

901 (1991).

      Further, Dr. Page suffered tangible harm as a result of the 4th FISA Warrant.

It was specifically cited in federal government documents as evidence that Dr. Page

is a suspect person and that the surveillance of him was warranted.

      For example, on January 29, 2018, members of the House Permanent Select

Committee on Intelligence circulated to all members of the House of Representative

an advocacy document entitled “Correcting the Record – The Russia Investigation.”

(A copy is attached as Exhibit A). Assuming the legitimacy of the FISA warrants,

this document argued that the FBI and DOJ did not abuse the FISA process. It

said that the FBI and DOJ “would have been remiss in their duty to protect the

                                            6
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 7 of 19




country had they not sought a FISA warrant and repeated renewals to conduct

temporary surveillance of Carter Page, someone the FBI assessed to be an agent of

the Russian government.” The document asserted in bold type that the “FISA

application and three subsequent renewals carefully outlined for the Court a multi-

pronged rationale for surveilling Page.” It further asserted that “[t]he initial

warrant application and subsequent renewals received independent scrutiny and

approval by four different federal judges.” And it added that “[t]he Court approved

three renewals – in early January 2017, early April 2017, and late June 2017 –

which authorized the FBI to maintain surveillance on Page until late September

2017.” In sum, the document used the imprimatur of the FISC—which had been

misled by Clinesmith and the FBI in the 4th warrant application—to continue

falsely painting Dr. Page as a traitor to his country, a depiction that was, and is,

opposite of the truth.

      Professor Jonathan Turley has aptly summarized what happened to Dr. Page

as a result of being wrongly targeted by the FISA warrants:

      [Page was portrayed] in endless media segments [as] a shady character
      who was at worst a Russian spy and at best a Russian stooge. Page
      became the face and focus for the justification of the Russia collusion
      investigation. His manifest guilt and sinister work in Moscow had to
      be accepted in order to combat those questioning the allegations of
      Trump campaign collusion with the Russians. In other words, his guilt
      had to be indisputable in order for the Russia collusion investigation to
      be, so to speak, unimpeachable.

Turley, Jonathan, An Apology to Carter Page, The Hill (December 14, 2019),

https://thehill.com/opinion/judiciary/474570-an-apology-to-carter-page. As Professor

Turley noted, “Page served his purpose and the trashing of his reputation was a cost



                                           7
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 8 of 19




of doing business with the federal government for many members of Congress and

the media.” Id.

      Dr. Page has suffered significant reputational, emotional, and financial harm

as a result of the unlawful warrant process in which Defendant Clinesmith was a

full participant. No legitimate, rational person or company would associate or do

business with a “documented” Russian spy. At least three banks or financial

services companies have declined to do business with Dr. Page’s companies as a

result of his unsought notoriety. He also received death threats that caused him to

repeatedly relocate. Former friends, associates, and colleagues shunned him due to

their mistaken belief in the accuracy of the FISA process that labelled Dr. Page, a

former Naval officer and patriotic American, as a turncoat engaged in treason.

      The harm inflicted on Dr. Page remains unredressed and unacknowledged to

this day. Defendant Clinesmith apologizes, through counsel, to “all those who have

been affected,” including his family, his colleagues, the Court, and the public, but

notably not to Dr. Page. Defense Sentencing Memo at p. 1. Astonishingly,

Clinesmith laments the consequences that have befallen him as a result of his own

unlawful actions, while arguing that Dr. Page is not a victim of his crime. Id. at 34;

and at 17 fn. 13.



                                    ARGUMENT

A.    Dr. Page Is a Victim of the Instant Offense

      Dr. Page is a victim of defendant Clinesmith’s offense. Under the Crime

Victims’ Rights Act (“CVRA”), a “crime victim” is “a person directly and proximately

                                           8
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 9 of 19




harmed as a result of the commission of a Federal offense or an offense in the

District of Columbia.” 18 U.S.C. § 3771(e)(2)(A). “The requirement that the victim

be 'directly and proximately harmed' encompasses the traditional 'but for'

and proximate cause analyses.” United States v. Giraldo-Serna, 118 F. Supp. 3d

377, 383 (D.D.C. 2015) (citing In re Rendon Galvis, 564 F.3d 170, 175 (2d Cir.

2009)). “The CVRA ‘instructs the district court to look at the offense itself only to

determine the harmful effects the offense has on parties. Under the plain language

of the statute, a party may qualify as a victim, even though it may not have been

the target of the crime, as long as it suffers harm as a result of the crime's

commission.’” In re McNulty, 597 F.3d 344, 351 (6th Cir. 2010) (quoting In re

Stewart, 552 F.3d 1285, 1289 (11th Cir. 2008)).

      In this case, Dr. Page was the target of the crime. He was the target of the

FISA warrant surveillance. Clinesmith lied to the SSA and provided an altered

document to him to mislead the agent into believing that obtaining a FISA warrant

against Dr. Page was legitimate, when in fact, it was not. Dr. Page suffered the

direct and proximate harms discussed above because the 4th FISA warrant was

issued in reliance on Clinesmith’s false statement. See United States v. Contreras,

16-00740 HG-01, 2017 WL 2563222 (D. Haw. June 13, 2017) (a correctional officer's

false statements that concealed his inappropriate relationship with an inmate from

DOJ officials directly and proximately harmed the inmate); United States v.

Williams, 811 Fed. Appx. 690 (2d Cir. 2020) (upholding the finding that a bank was

the victim of false statement where loss to the bank was the foreseeable result.)




                                           9
         Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 10 of 19




         The fact that Dr. Page had already been harmed by the prior FISA warrants

before the 4th warrant issued does not mean that he is not a victim of Clinesmith’s

false statement. Nor does the fact that the application for the 4th FISA warrant

contained other misstatements and omissions sever the causal link between the

offense at issue here and the harm that Dr. Page suffered. “That there could be a

multiplicity of possible ‘but-for’ causes does not mean that [one of them] fails to

qualify as a ‘but-for’ cause.” In re de Henriquez, 2015 WL 10692637, at *1 (D.C. Cir.

2015).

         Likewise, while the FISC was certainly a victim of the offense conduct, that

does not alter the conclusion that Dr. Page was a victim for purposes of the CVRA

and the restitution statute.



B.       Dr. Page Has a Right to Be Heard at the Sentencing

         Dr. Page has the right to be heard at sentencing pursuant to the CVRA, 18

U.S.C. § 3771(a)(4). Dr. Page and undersigned counsel plan to attend the

sentencing, and Dr. Page wishes to be heard by the court. He will not seek

imposition of a particular sentence but wants to underscore that Clinesmith’s

offense was malicious and intentional: Clinesmith altered the email in order to hide

the truth about whether Dr. Page had been a source for the intelligence agency,

and that the information had previously been withheld from the FISC.

         Clinesmith’s assertion during his plea colloquy that he believed that Dr. Page

had not been a source for the agency, and that he altered the email to “correct” it, is

preposterous. Had he believed the email was mistaken or unclear, he could have

                                           10
        Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 11 of 19




easily asked the intelligence agency to correct or clarify it. And he would not have

lied to the SSA about what the intelligence agency had advised the FBI.

        Furthermore, Dr. Page was not simply an abstract FISA target for

Clinesmith. Dr. Page had interacted directly with Clinesmith several months

before Clinesmith altered the email at issue. In March 2017, during the 2nd FISA

warrant surveillance period and while the 3rd application was being prepared,

Dr. Page was interviewed on five occasions, for a total of about ten hours, by two

FBI agents who – unbeknownst to Dr. Page – were part of the Crossfire Hurricane

team.

        In the course of these interviews, Dr. Page advised the agents that he was not

a Russian agent and, to the contrary, that he had previously assisted the FBI and

the U.S. intelligence agency in their counter-intelligence missions. He also advised

the agents that he had received death threats as a result of the false accusation that

he was a Russian agent. These interviews led to contact with Clinesmith after an

attorney named Adam Burke began helping Dr. Page.

        Mr. Burke was concerned about why the FBI had interviewed Dr. Page so

often and what FBI’s legal interest was in Dr. Page. When Dr. Page advised the

agents he had been speaking to that he had counsel, the agents placed Dr. Page and

Mr. Burke in touch with Clinesmith.4 Mr. Burke had conversations with

Clinesmith in which Mr. Burke inquired about obtaining a “proffer letter” for




4This was not a coincidence, but a result of Clinesmith’s standing role as a legal
advisor on the Crossfire Hurricane team.
                                          11
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 12 of 19




Dr Page, and advised Clinesmith about the threats that Dr. Page had been

receiving because of the false allegation that he was a Russian agent.

      Mr. Burke and Clinesmith also discussed a prior FBI case in which Dr. Page

had played a role assisting FBI. This was the case of Evgeny Buryakov, a Russian

spy posing as a New York banker. Dr. Page cooperated with the FBI’s investigation

of Buryakov, who was prosecuted and sent to prison. In March 2017—upon

Buryakov’s scheduled release from prison, media interest was anticipated in the

case and Dr. Page was expected to be contacted for comment. Clinesmith told

Mr. Burke that he would prefer that Dr. Page not comment or hold off comment.

      Clinesmith could not have had any legitimate reason for discouraging

Dr. Page from speaking to the media. It appears to be a blatant attempt to

discourage Dr. Page from accurately and publicly portraying himself in a favorable

way which was at cross purposes with the smear campaign the Crossfire Hurricane

team was pursuing as it falsely targeted Dr. Page.

      Nonetheless, Dr. Page did make some comments to the media, which were

reported on April 5, 2017. That same day, Mr. Burke wrote an email to Clinesmith

(with a copy to Dr. Page) stating:

      As a follow up, I wanted to expand on Mr. Page's reasons for
      addressing the latest controversy directly with the media.

      In addition to being maligned by certain media outlets, he has received
      some thinly veiled death threats including blog post comments (see
      e.g., attached) and a voicemail message. For this reason, Mr. Page felt
      compelled to respond. He has addressed the voicemail threat with the
      agents who advised they were looking into it.

                                         ...



                                         12
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 13 of 19




      The following morning, April 6, 2017, Dr. Page responded to this email, both

to Mr. Burke and Clinesmith, but he addressed his comments directly to

Clinesmith, saying, in part:

      Dear Kevin:

      Thanks very much for your help in advancing this important process of
      belatedly restoring justice in America, after the vicious campaign lies
      and civil rights violations that led to our discussions.

      …

      As alluded to by Adam [Burke], I have been quite overwhelmed with
      constant, round-the-clock media inquiries and the damage control
      following the belated revelations of my "idiot"-branding from the
      January 2015 filing, adding new fuel to the highly misleading
      narrative that has drastically defamed not just me but members of my
      family from here to the West coast, etc. Thanks for your consideration.
      I look forward to resolving this situation.

Copies of both of these emails are attached as Exhibit B.

      For reasons that are now clear, Clinesmith never contacted Mr. Burke—

much less Dr. Page—to help remedy the devastating fallout from the false portrayal

of Dr. Page as a Russian agent. Unbeknownst to Dr. Page and Mr. Burke, the

application for the 3rd FISA warrant was submitted and approved the very next

day, April 7, 2017.

      Thus, in early April 2017 Dr. Page directly appealed to Clinesmith for

assistance in dispelling the false allegation that he was a Russian agent.

Clinesmith did nothing to help Dr. Page and stood by while the FBI obtained the 3rd

FISA warrant against Dr. Page (while actively discouraging Dr. Page from publicly

denying that he was a Russian agent).




                                         13
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 14 of 19




      Then, a mere two months later, Clinesmith committed the instant offense by

providing an altered document to the SSA who was tasked to verify the 4th FISA

warrant application. Clinesmith knew —because he had to—that if he advised the

SSA that Dr. Page had been a source for a U.S. intelligence agency, the application

for the 4th warrant likely would not be submitted by DOJ or else might be denied by

the FISC. Either way, disclosing this exculpatory fact would expose the material

omission of this critical information from the prior three FISA warrants. This

might require a corrective disclosure to the FISC, pursuant to FISC Rule 13a, with

respect to the three prior warrants. Faced with this choice, Clinesmith chose to lie.

      While Clinesmith claims in his sentencing memorandum that he did not

intend to mislead anyone by inserting the words “not a source” into the email, this

argument is not credible. In the June 2017 conversation in which Clinesmith told

the affiant SSA that Dr. Page was not a source, he expressed relief that: "I mean, at

least we don't have to have a terrible footnote."

      When the DOJ OIG interviewed him about this comment, Clinesmith tried to

explain it away as follows:

      “[Clinesmith] told us that he was referring to how "laborious" it would
      be to draft such a footnote for the FISA application, not that such a
      footnote might undermine or conflict with the overall narrative
      presented in the FISA applications.”

Horowitz Report at p. 253. However, the SSA gave a far more realistic assessment

of it to the OIG investigators:

      [H]e understood [Clinesmith’s] comment about not having to draft a
      ‘terrible footnote’ to mean that the team could avoid having to explain
      in Renewal Application No. 3 that they had ‘just now come to
      determine that [Page] was an asset of the [other agency] and probably

                                          14
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 15 of 19




      being tasked to engage ... [with] Russians which is ... why we opened a
      case on him.’ The SSA 2 said that he understood [Clinesmith] to be
      saying that ‘the optic...would be terrible’ if the prior FISA applications
      were ‘dubious’ in light of a relationship between Page and the other
      agency, and the FBI was only becoming aware of that relationship in
      the third renewal application and after Page's public statements.

Horowitz Report at p. 254. This interpretation hits closer to the truth. What

Clinesmith was actually relieved about was that he had hit upon a flimsy excuse to

avoid making this disclosure to the FISC at all.

      In sum, the relevant facts show that Clinesmith’s conduct was not

inadvertent or mistaken. Nor was it made in good faith. It was deliberate conduct

to avoid revealing to the FISC that the earlier warrant applications contained a

major omission. It constituted a doubling down by again failing to advise the FISC

that Dr. Page was an operational contact for the other intelligence agency.



C.    Dr. Page Has a Right to Restitution

      Dr. Page also has the right to “full and timely restitution as provided in law.”

18 U.S.C. § 3771(a)(6). As the victim of a criminal false statement, Dr. Page is

entitled to permissive restitution under 18 U.S.C. § 3663, although he is not entitled

to mandatory restitution under 18 U.S.C. § 3663A. See United States v. Dorcely,

454 F.3d 366, 377 (D.C. Cir. 2006). Accordingly, Dr. Page submitted to the

Probation Officer in this matter a Declaration of Loss and a Victim’s Impact

Statement.

      As the FISC recognized in its order of June 25, 2020, Dr. Page also has the

right to seek civil redress under the FISA for injury from the unlawful surveillance



                                          15
       Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 16 of 19




against him. Opinion and Order Regarding Use and Disclosure of Information at

13, 16-1182,17-52, 17-375, 17-679 (FISA Ct. Jun. 25, 2020) at p. 13. In this regard,

Dr. Page filed a civil action on November 27, 2020 in this Court against the United

States, the DOJ, the FBI, and eight named individuals, including defendant

Clinesmith, covering his conduct seeking $75 million in damages for their violations

of Dr. Page’s rights under FISA, the Federal Torts Claims Act, the Privacy Act, and

the Constitution. Page v. James Comey, et al., No. 1:20-cv-3460 (KBJ) (D.D.C. filed

Nov. 27, 2020).5 In addition, Dr. Page has a claim for the FISA violations against

the United States under the Patriot Act, 18 U.S.C. § 2712, which is pending as an

administrative claim, awaiting determination. Should the Government deny that

claim, it will issue a “right to sue” letter and that claim will be added to the existing

civil litigation.

       Dr. Page pursuing his civil remedies against the United States and other

defendants, including Clinesmith, does not preclude a restitution order in this case.

As the FISC’s June 25, 2020 order explains: “Interpreting FISA 's criminal

prohibitions to hinder pursuit of its complementary civil remedies would violate the

principle that"[ s ]tatutes should be interpreted as a symmetrical and coherent

regulatory scheme." Mellouli v. Lynch, 575 U.S. 798, 135 S. Ct. 1980, 1989 (2015)

(quoting FDA v. Brown & Williamson Tobacco Com., 529 U.S. 120, 133 (2000)).” Id.




Counsel would draw the Court’s attention to the Complaint filed in the civil case,
5

which contains additional information regarding Dr. Page’s biography, credentials,
and service to the United States.
                                           16
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 17 of 19




      Nevertheless, the existence of a parallel, complex, multi-defendant civil case

which includes the Defendant in this matter and the United States as a defendant

as well, is clearly a complicating factor in this proceeding. In this regard, the

restitution statute empowers the Court to decline to enter a restitution order if it

determines that the complication and prolongation of the sentencing process

resulting from the fashioning of an order of restitution outweighs the need to

provide restitution. See 18 U.S.C. § 3663(a)(1)(B)(ii).

      As part of restitution, Dr. Page has additionally requested reimbursement for

his expenses in attending the sentencing of this matter, pursuant to 18 U.S.C. §

3663(b)(4). This claim is described in the Declaration of Loss.



                              REQUEST FOR RELIEF

      WHEREFORE, Dr. Page respectfully requests that the Court:

             1. Confirm his status as a victim of the offense in this case under 18

                 U.S.C. § 3771 and 18 U.S.C. § 3663 and to the rights contained

                 therein;

             2. Permit Dr. Page to be heard at the sentencing; and

             3. Award Dr. Page restitution as determined by the Court at the

                 sentencing hearing.




                                           17
Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 18 of 19




                             Respectfully submitted,



                             ______________/s/______________________
                             Leslie McAdoo Gordon
                             DC BAR #456781
                             McAdoo Gordon & Associates, P.C.
                             1140 19th Street, NW, Suite 602
                             Washington, DC 20036
                             (202) 293-0534 telephone
                             (202) 478-2095 facsimile
                             leslie.mcadoo@mcadoolaw.com



                             ___________/s/____________________
                             K. Lawson Pedigo
                             Bar ID: TX0186
                             MILLER KEFFER & PEDIGO PLLC
                             3400 Carlisle Street, Suite 550
                             Dallas, Texas 75204
                             Telephone: (214) 696-2050
                             klpedigo@mkp-law.net


                             Attorneys for Carter Page




                               18
      Case 1:20-cr-00165-JEB Document 23-2 Filed 12/04/20 Page 19 of 19




                           CERTIFICATE OF SERVICE


      I hereby certify that, on December 3, 2020, a copy of the foregoing Motion for

Relief Under the Crime Victims’ Rights Act was served electronically on:

            Justin Shur
            Emily Kathryn Damrau
            Megan Cunniff Church
            Jordan Rice
            MOLOLAMKEN LLP
            600 New Hampshire Avenue, NW
            Suite 660
            Washington, DC 20037
            (202) 556-2005
            Email: jshur@mololamken.com

            Anthony F. Scarpelli
            U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
            555 Fourth Street, NW
            Washington, DC 20530
            (202) 252-7707
            Fax: (202) 514-8707
            Email: anthony.scarpelli@usdoj.gov

            Neeraj Patel
            Special Assistant United States Attorney
            157 Church Street
            25th Floor
            New Haven, CT 06510
            203-821-3700
            Email: neeraj.patel@usdoj.gov


                                      ______________/s/___________________
                                      Leslie McAdoo Gordon
                                      DC BAR #456781
                                      McAdoo Gordon & Associates, P.C.
                                      1140 19th Street, NW, Suite 602
                                      Washington, DC 20036
                                      (202) 293-0534 telephone
                                      (202) 478-2095 facsimile
                                      Leslie.mcadoo@mcadoolaw.com



                                         19
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 1 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 2 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 3 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 4 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 5 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 6 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 7 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 8 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 9 of 10
Case 1:20-cr-00165-JEB Document 23-3 Filed 12/04/20 Page 10 of 10
Case 1:20-cr-00165-JEB Document 23-4 Filed 12/04/20 Page 1 of 3




     Exhibit B
         Case 1:20-cr-00165-JEB Document 23-4 Filed 12/04/20 Page 2 of 3




From: Carter Page
Date: April 6, 2017 at 7:43:51 AM EDT
To: Adam Burke <burke142@gmail.com>
Cc: kevin.clinesmith@ic.fbi.gov, Josh Mackey <Jmackey@mbwise.com>
Subject: Re: Carter Page Follow Up

Dear Kevin:



Thanks very much for your help in advancing this important process of belatedly restoring
justice in America, after the vicious campaign lies and civil rights violations that led to our
discussions. By way of further background, I have been exceptionally fortunate to have a great
outpouring of support and love from friends and allies across the country including in the legal
department. In the words of MLK:



"Darkness cannot drive out darkness; only light can do that. Hate cannot drive out hate; only love
can do that."



In addition to Adam whom you've already spoken with, I would like to add to our email
correspondence a close colleague who has long provided support. Included with this CC is Josh
Mackey, an attorney based in New York. I have been blessed with these volunteers and other
supporters may join over time, but in order to ensure everyone remains in the loop please include
Adam, Josh and myself in future correspondence. Whereas each of us have busy schedules with
our day jobs, it helps cover things from a time management perspective.



As alluded to by Adam, I have been quite overwhelmed with constant, round-the-clock media
inquiries and the damage control following the belated revelations of my "idiot"-branding from
the January 2015 filing, adding new fuel to the highly misleading narrative that has drastically
defamed not just me but members of my family from here to the West coast, etc. Thanks for
your consideration. I look forward to resolving this situation.



Best regards

Carter

Sent from my iPhone
          Case 1:20-cr-00165-JEB Document 23-4 Filed 12/04/20 Page 3 of 3




On Apr 5, 2017, at 8:33 PM, Adam Burke <burke142@gmail.com> wrote:

Dear Kevin:




As a follow up, I wanted to expand on Mr. Page's reasons for addressing the latest controversy directly with
the media.




In addition to being maligned by certain media outlets, he has received some thinly veiled death threats
including blog post comments (see e.g., attached) and a voicemail message. For this reason, Mr. Page felt
compelled to respond. He has addressed the voicemail threat with the agents who advised they were looking
into it.




Sincerely yours,




Adam G. Burke, Esq.
Burke, Meis & Associates LLC

625 City Park Avenue

Columbus, Ohio 43215
(614) 280-9122 office
(614) 232-9122 cell
AttorneyAdamBurke.com



Confidentiality Notice: This electronic mail message, together with any attachments herein,
contains information of Burke, Meis & Associates LLC that may be confidential and/or legally
privileged, and is intended solely for the use of the individual or entity named on this message. If
you are not the intended recipient, and have received this message in error, please immediately
return this message via e-mail and then delete it from your hard drive completely. If you have
any questions about what to do in this situation, please call our office at the number listed above.
Thank you for your prompt attention to this matter.

<2017.04.04 - Wonkett target slide for Adam .pdf>
        Case 1:20-cr-00165-JEB Document 23-5 Filed 12/04/20 Page 1 of 1




                    UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA


UNITED STATES                             )
                                          )
                                          )
v.                                        )          Case No. 20-cr-165-JEB
                                          )
                                          )
KEVIN CLINESMITH,                         )
                                          )
                  Defendant               )
__________________________________________)

                                      ORDER

      This matter comes to the Court on Dr. Carter Page’s Motion for Relief Under

the Crime Victims’ Rights Act. It is hereby:

      ORDERED that Dr. Page’s motion is GRANTED; and it is further

      ORDERED that the Court finds that Dr. Page is a victim of the offense in

this case under the Crime Victim’s Rights Act, 18 U.S.C. § 3771, and of 18 U.S.C. §

3663; and it is further

      ORDERED that Dr. Page is permitted to be heard at the sentencing and to

exercise all other rights afforded to a victim under the Crime Victim’s Rights Act;

and it is further

      ORDERED that Dr. Page’s right to restitution will be addressed at the

sentencing hearing of this matter.



December __, 2020                              _________________________________
Washington, D.C.                               Judge James E. Boasberg
                                               United States District Judge
                     Case 1:20-cr-00165-JEB Document 23-6 Filed 12/04/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            District of Columbia
                                             __________     District of __________


                         United States                         )
                             Plaintiff                         )
                                v.                             )      Case No. 20-cr-165-JEB
                       Kevin Clinesmith                        )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Carter Page                                                                                                   .


Date:          12/03/2020                                                               /s/ K. Lawson Pedigo
                                                                                          Attorney’s signature


                                                                                     K. Lawson Pedigo, TX0186
                                                                                      Printed name and bar number

                                                                                     Miller, Keffer & Pedigo
                                                                                  3400 Carlisle Street, Suite 550
                                                                                       Dallas, TX 75204
                                                                                                Address

                                                                                       klpedigo@mkp-law.net
                                                                                            E-mail address

                                                                                           (214) 696-2050
                                                                                           Telephone number

                                                                                           (214) 696-2482
                                                                                             FAX number
                     Case 1:20-cr-00165-JEB Document 23-7 Filed 12/04/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            District of Columbia
                                             __________     District of __________


                         United States                         )
                             Plaintiff                         )
                                v.                             )      Case No. 20-cr-165-JEB
                       Kevin Clinesmith                        )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Carter Page                                                                                                   .


Date:          12/03/2020                                                               /s/ K. Lawson Pedigo
                                                                                          Attorney’s signature


                                                                                     K. Lawson Pedigo, TX0186
                                                                                      Printed name and bar number

                                                                                     Miller, Keffer & Pedigo
                                                                                  3400 Carlisle Street, Suite 550
                                                                                       Dallas, TX 75204
                                                                                                Address

                                                                                       klpedigo@mkp-law.net
                                                                                            E-mail address

                                                                                           (214) 696-2050
                                                                                           Telephone number

                                                                                           (214) 696-2482
                                                                                             FAX number
